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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,

                    Plaintiff,

              vs.                                           ORDER
                                             Criminal File No. 07-201 (MJD/FLN)
OSWALDO QUIROZ-MENDIETA (1),

                    Defendants.


Jeffrey M. Bryan and Michael L. Cheever, Assistant United States Attorneys,
counsel for Plaintiff.

Daniel L. Gerdts, Brink & Gerdts, P.A., Counsel for Defendant.


      The above-entitled matter comes before the Court upon the Report and

Recommendation (“R&R”) of United States Magistrate Judge Franklin L. Noel

dated August 15, 2007. Defendant filed no objections to the R&R.

      Pursuant to statute, the Court has conducted a de novo review of the

record. 28 U.S.C. § 636(b)(1); Local Rule 72.1(c). Based on that review the

Court adopts the Report and Recommendation dated August 15, 2007.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED THAT:
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     1.    Defendant Quiroz-Mendieta’s motion to suppress all evidence
           obtained from unlawful searches and seizures [Docket No. 45] is
           DENIED.


Dated: September 28, 2007

                                  BY THE COURT:

                                  S/Michael J. Davis
                                  The Honorable Michael J. Davis
                                  United States District Court Judge




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